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 1                                UNITED STATES DISTRICT COURT
 2                                       DISTRICT OF NEVADA
 3                                                   ***
 4    UNITED STATES OF AMERICA,                                Case No. 2:18-cr-00408-APR-EJY
 5                   Plaintiff,
                                                                            ORDER
 6          v.
 7    WYATT PETERSON,
 8                   Defendant.
 9

10          Pending before the Court is Defendant Wyatt Peterson’s Ex-Parte Motion for Court Order
11   Directing U.S. Marshalls and/or NYE County Detention Center to Obtain Necessary Dental Work
12   (ECF No. 96) filed on March 6, 2022. The Court notes that Defendant is not in the Nye County
13   Detention Center but in the federally contracted facility in Pahrump, Nevada referred to as CoreCivic
14   or the Southern Nevada Detention Center.
15   I.     Background
16          Through his Motion, Mr. Peterson asks the Court to issue an Order arranging for him to
17   receive a root canal as recommended by his treating dentist. ECF No. 96 at 1. Mr. Peterson requested
18   the U.S. Marshalls and the facility at which he is housed (which, again, is not a Nye County facility)
19   to arrange for a root canal, but the request was denied “based on a policy that the only dental
20   procedure that would be approved would be to pull or extract the tooth.” Id. at 2. Mr. Peterson
21   “does not wish to have missing teeth for his upcoming trial and would not consent to simply
22   extracting or pulling the problem tooth.” Id.
23   II.    Analysis
24          Well settled law establishes that the government must not be deliberately indifferent to the
25   medical needs of prisoners. Farmer v. Brennan, 511 U.S. 825, 835 (1994). “[C]laims for violations
26   of the right to adequate medical care brought by pretrial detainees against individual defendants
27   under the Fourteenth Amendment must be evaluated under an objective deliberate indifference
28   standard.” Gordon v. County of Orange, 888 F.3d 1118, 1124-25 (9th Cir. 2018) (internal quotation
                                                      1
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 1   marks and citation omitted)). However, the Court does not have that issue before it in the instant

 2   Motion. Here, Mr. Peterson asks for dental care beyond what Nye County Detention Center provides

 3   its inmates.

 4          The United States Constitution does not require that prison facilities provide inmates with

 5   state-of-the-art medical or mental health care; nor does it require that prison conditions be

 6   comfortable. Facilities must simply provide care consistent with “the minimal civilized measure of

 7   life’s necessities;” that is, care sufficient to prevent the unnecessary and wanton infliction of pain or

 8   death. Rhodes v. Chapman, 452 U.S. 337, 347 (1981); Estelle v. Gamble, 429 U.S. 97, 103–04

 9   (1976). Moreover, and specifically with respect to the request before the Court, “[f]ederal courts

10   lack the power to interfere with decisions made by state prison officials, absent constitutional

11   violations. Courts must recognize that the authority to make policy choices concerning prisons is

12   not a proper judicial function.” Bacon v. Reyes, Case No. 2:12-cv-01222-JCM, 2013 WL 3893254,

13   at *21 (D. Nev. July 26, 2013). The Court is sympathetic to Mr. Peterson’s situation, but finds no

14   basis for action here. Were the allegations in Mr. Peterson’s Motion such that it reasonably appeared

15   from the records that he was receiving care insufficient to prevent the unnecessary and wanton

16   infliction of pain or death, or inconsistent with necessity, the Court might act to order extraordinary

17   steps. There is nothing presented that warrants the Court take such action in this matter.

18   III.   Order

19          Accordingly, IT IS HEREBY ORDERED that the Motion for Court Order Directing U.S.

20   Marshalls and/or Nye County Detention Center to Obtain Necessary Dental Work (ECF No. 96) is

21   DENIED.

22          Dated this 8th day of March, 2022.

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25                                                  ELAYNA J. YOUCHAH
                                                    UNITED STATES MAGISTRATE JUDGE
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